EXHIBIT D
5/8/2020                                                                   LIVE ECF

                                                                                                                      BAPCPA


                                                     U.S. Bankruptcy Court
                                                  District of Nevada (Las Vegas)
                                                Bankruptcy Petition#: 20-10250-btb
                                                                                          Datefiled: 01/16/2020
Assigned to: BRUCE T. BEESLEY                                                           341 meeting: 05/06/2020
Chapter 7
Voluntary
Asset


Debtor                                                                           represented by ROBERT S. LARSEN
DOMI PUBLICATIONS, LLC                                                                          GORDON REES SCULLY
10620 SO. HIGHLANDS PKWY., #110-334                                                             MANSUKHANI
LAS VEGAS, NV 89141                                                                             300 SO 4TH ST, STE 1550
CLARK-NV                                                                                        LAS VEGAS, NV 89101
Tax ID/ EIN: XX-XXXXXXX                                                                         (702) 577-9301
dba MOMPOV.COM                                                                                  Fax : (702) 255-2858
                                                                                                Email: rlarsen@grsm.com

                                                                                               MATTHEW C. ZIRZOW
                                                                                               LARSON & ZIRZOW, LLC
                                                                                               850 E. BONNEVILLE AVE.
                                                                                               LAS VEGAS, NV 89101
                                                                                               (702) 3 82-1170
                                                                                               Fax: (702) 382-1169
                                                                                               Email: mzirzow@lzlawnv.com

 Trustee
 LENARD E. SCHWARTZER
 2850 S. JONES BLVD., #1
 LAS VEGAS, NV 89146
 (702) 307-2022

 U.S. Trustee
 U.S. TRUSTEE - LV - 7
 300 LAS VEGAS BOULEVARD, SO.
 SUITE 4300
 LAS VEGAS, NV 89101


    Filing Date                             #                                             Docket Text

                                        l                         Chapter 7 Voluntary Petition Non-Individual. Fee Amount
                                        (11 pgs)                  $335. Filed by MATTHEW C. ZIRZOW on behalf ofDOMI
                                                                  PUBLICATIONS, LLC (ZIRZOW, MATTHEW) (Entered:
   01/16/2020                                                     01/16/2020)

   01/16/2020                           2                         Meeting of Creditors and Notice of Appointment of Trustee
                                        (1 pg)                    LENARD E. SCHWARTZER, . 341 meeting to be held on

https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                       1/12
5/8/2020                                                                    LIVE ECF

                                                                  02/19/2020 at 11 :00 AM at 341s - Foley Bldg,Rm 1500.
                                                                  (Entered: 01/16/2020)

                                        3                         Receipt of Filing Fee for Voluntary Petition 7(20-10250)
                                                                  [misc,volp7pb] ( 335 .00). Receipt number 19325871, fee
                                                                  amount$ 335.00.(re: Doc#l ) (U.S. Treasury) (Entered:
   01/16/2020                                                     01/16/2020)

                                        4                         Set Deficient Filing Deadlines. Incomplete Filings due by
                                                                  1/30/2020. Summary of Assets and Liabilities due by
                                                                  1/30/2020. Schedule A/B due by 1/30/2020. Schedule D due
                                                                  by 1/30/2020.Schedule E/F due by 1/30/2020. Schedule G due
                                                                  by 1/30/2020. Schedule H due by 1/30/2020. Declaration
                                                                  Under Penalty of Perjury due by 1/30/2020. Statement of
                                                                  Financial Affairs due by 1/30/2020. Atty Disclosure Statement
                                                                  due by 1/30/2020. Declaration Re: E-Filing due by 1/30/2020.
   01/16/2020                                                     (npc) (Entered: 01/17/2020)

                                        .5.                       Notice of Incomplete and/or Deficient Filing. (npc) (Entered:
   01/17/2020                           (2 pgs)                   01/17/2020)

                                        .Q                        BNC Certificate of Mailing (Related document(s)2. Meeting of
                                        (5 pgs)                   Creditors Chapter 7 No Asset (BNC)) No. of Notices: 117.
   01/19/2020                                                     Notice Date 01/19/2020. (Admin.) (Entered: 01/19/2020)

                                        1                         BNC Certificate of Mailing. (Related document(s).5. Incomplete
                                        (3 pgs)                   and/or Deficient Filing-Ch 7 Non-Individual (BNC)) No. of
                                                                  Notices: 1. Notice Date 01/19/2020. (Admin.) (Entered:
   01/19/2020                                                     01/19/2020)

                                        ~                         Supplemental Certificate of Service Filed by MATTHEW C.
                                        (2 pgs)                   ZIRZOW on behalf of DOMI PUBLICATIONS, LLC (Related
                                                                  document(s)2. Meeting of Creditors Chapter 7 No Asset
   01/22/2020                                                     (BNC)) (ZIRZOW, MATTHEW) (Entered: 01/22/2020)

                                        .2                        Motion to Extend Deadline to File Schedules or Provide
                                        (2 pgs)                   Required Information Filed by MATTHEW C. ZIRZOW on
                                                                  behalf of DOMI PUBLICATIONS, LLC (ZIRZOW,
   01/30/2020                                                     MATTHEW) (Entered: 01/30/2020)

                                        10                        Notice of Hearing Hearing Date: 3/18/2020 Hearing Time:
                                        (2 pgs)                   11 :00 a.m. Filed by MATTHEW C. ZIRZOW on behalf of
                                                                  DOMI PUBLICATIONS, LLC (Related document(s).2 Motion
                                                                  to Extend Deadline to File Schedules filed by Debtor DOMI
                                                                  PUBLICATIONS, LLC) (ZIRZOW, MATTHEW) (Entered:
   01/30/2020                                                     01/30/2020)

   01/31/2020                            11                       Hearing Scheduled/Rescheduled. Hearing scheduled 3/18/2020
                                                                  at 11:00 AM at BTB LY-Courtroom 4, Foley Federal Bldg.
                                                                  (Related document(s).2 Motion to Extend Deadline to File
                                                                  Schedules filed by Debtor DOMI PUBLICATIONS, LLC)
                                                                  (arv) (Entered: 01/31 /2020)
https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                           2/12
5/8/2020                                                                   LIVE ECF


                                        12                        Certificate of Service Filed by MATTHEW C. ZIRZOW on
                                        (6 pgs)                   behalf ofDOMI PUBLICATIONS, LLC (Related
                                                                  document(s).2. Motion to Extend Deadline to File Schedules
                                                                  filed by Debtor DOMI PUBLICATIONS, LLC, 10 Notice of
                                                                  Hearing filed by Debtor DOMI PUBLICATIONS, LLC)
   01/31/2020                                                     (ZIRZOW, MATTHEW) (Entered: 01/31/2020)

                                        .Ll.                      Non-Individual Summary of Assets and Liabilities,
                                        (90 pgs)                  Schedule[ s]A/B, Real Property Amount: $ 0, Personal Property
                                                                  Amount: $ 32278.84, D, Creditors Holding Secured Claims
                                                                  Amount: $ 0, E/F, Creditors Holding Unsecured Priority
                                                                  Claims Amount: $ 0, Creditors Holding Unsecured Nonpriority
                                                                  claims Amount: $ 12928024.12, G, H, Declaration Concerning
                                                                  Debtor[s] Schedules, Fee Amount $31,, Statement of Financial
                                                                  Affairs for Non-Individual , Corporate Ownership Statement ,
                                                                  Amendment to List of Creditors, Disclosure of Compensation
                                                                  of Attorney for Debtor Filed by MATTHEW C. ZIRZOW on
                                                                  behalf of DOMI PUBLICATIONS, LLC (Related document(s)
                                                                  4 Set Deficient Filing Deadlines) (ZIRZOW, MATTHEW)
   02/05/2020                                                     (Entered: 02/05/2020)

                                         14                       Receipt of Filing Fee for Schedules/Declaration Re
                                                                  Schedules(20-10250-btb) [misc,amdschs 1] ( 31.00). Receipt
                                                                  number 19363765, fee amount$ 31.00.(re: Doc#.Ll.) (U.S.
   02/05/2020                                                     Treasury) (Entered: 02/05/2020)

                                        .12                       Declaration Re: Electronic Filing Filed by MATTHEW C .
                                        (1 pg)                    ZIRZOW on behalf of DOMI PUBLICATIONS, LLC
   02/06/2020                                                     (ZIRZOW, MATTHEW) (Entered: 02/06/2020)

                                        .l_Q                      Supplemental Certificate of Service Filed by MATTHEW C .
                                        (3 pgs)                   ZIRZOW on behalf of DOMI PUBLICATIONS, LLC (Related
                                                                  document(s)2. Meeting of Creditors Chapter 7 No Asset
   02/06/2020                                                     (BNC)) (ZIRZOW, MATTHEW) (Entered: 02/06/2020)

                                        17                        Emergency Application UNITED STATES TRUSTEES
                                        (9 pgs)                   EMERGENCY MOTION FOR ORDER IMMEDIATELY
                                                                  SUSPENDING DEBTORS OPERATIONS Filed by U .S.
                                                                  TRUSTEE - LV - 7 (STROZZA (rl), NICHOLAS) (Entered:
   02/14/2020                                                     02/14/2020)

                                        .IB                       Declaration Of: JARED A. DAY Filed by U.S. TRUSTEE -
                                        (207 pgs)                 LV - 7 (Related document(s)ll Miscellaneous Application
                                                                  filed by U.S. Trustee U.S. TRUSTEE - LV - 7) (STROZZA
   02/14/2020                                                     (rl), NICHOLAS) (Entered: 02/14/2020)

                                        19                        Ex Parte Motion for Order Shortening Time Filed by U .S.
                                        (3 pgs)                   TRUSTEE - LV - 7 (Related document(s) l 7 Miscellaneous
                                                                  Application filed by U.S. Trustee U .S. TRUSTEE - LV - 7)
   02/14/2020                                                     (STROZZA (rl), NICHOLAS) (Entered: 02/14/2020)


https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                        3/12
5/8/2020                                                                    LIVE ECF

   02/14/2020                           20                        Declaration Of: JARED A. DAY Filed by U.S. TRUSTEE -
                                        (220 pgs)                 LV - 7 (Related document(s) 19 Motion for Order Shortening
                                                                  Time filed by U.S. Trustee U.S. TRUSTEE - LV - 7)
                                                                  (STROZZA (rl), NICHOLAS) (Entered: 02/14/2020)

                                        21                        Attorney Information Sheet Filed by U.S . TRUSTEE - LV - 7
                                        (1 pg)                    (Related document( s) 19 Motion for Order Shortening Time
                                                                  filed by U.S. Trustee U.S. TRUSTEE - LV - 7) (STROZZA
   02/14/2020                                                     (rl), NICHOLAS) (Entered: 02/14/2020)

                                        22                        Order Granting Motion for Order Shortening Time (Related
                                        (2 pgs)                   document(s) 19). Hearing scheduled 2/18/2020 at 01:30 PM at
                                                                  BTB LY-Courtroom 4, Foley Federal Bldg. (Related
                                                                  document(s) l 7 Miscellaneous Application filed by U.S.
   02/14/2020                                                     Trustee U.S. TRUSTEE - LV - 7.) (lms) (Entered: 02/ 14/2020)

                                        23                        Notice of Hearing Hearing Date: 02/18/2020 Hearing Time:
                                        (2 pgs)                   1:30 PM (Related document( s) 17 Miscellaneous Application
                                                                  filed by U.S. Trustee U.S. TRUSTEE - LV - 7.)(DAY, JARED)
   02/15/2020                                                     (Entered: 02/15/2020)

                                        24                        Certificate of Service with Certificate of Service Filed by U.S.
                                        (2 pgs)                   TRUSTEE - LV - 7 (Related document(s) l 7 Miscellaneous
                                                                  Application filed by U.S. Trustee U.S. TRUSTEE - LV - 7, ~
                                                                  Declaration filed by U.S. Trustee U.S. TRUSTEE - LV - 7, 22
                                                                  Order on Motion for Order Shortening Time, 23 UST Notice of
   02/15/2020                                                     Hearing) (DAY, JARED) (Entered: 02/15/2020)

                                        25                        Non-Opposition Filed by MATTHEW C. ZIRZOW on behalf
                                        (2 pgs)                   ofDOMI PUBLICATIONS, LLC (Related document(s)11
                                                                  Miscellaneous Application filed by U.S. Trustee U.S.
                                                                  TRUSTEE - LV - 7.) (ZIRZOW, MATTHEW) (Entered:
   02/17/2020                                                     02/17/2020)

                                        26                        Trustee's Response to United States Trustee's Emergency
                                        (4 pgs)                   Motion for Order Immediately Suspending Debtor's
                                                                  Operations Filed by LENARD E. SCHWARTZER on behalf of
                                                                  LENARD E. SCHWARTZER (Related document(s) 17
                                                                  Miscellaneous Application filed by U.S . Trustee U.S.
                                                                  TRUSTEE - LV - 7.) (SCHWARTZER, LENARD) (Entered:
   02/18/2020                                                     02/18/2020)

                                        27                        Statement Adjourning Meeting of 341(a) Meeting of Creditors.
                                                                  Section 341(a) Meeting Continued on 4/1/2020 at 11:30 AM at
                                                                  341s -Foley Bldg,Rm 1500. (SCHWARTZER, LENARD)
   02/20/2020                                                     (Entered: 02/20/2020)

   02/20/2020                           28                        Transcript regarding Hearing Held on 02/18/20. The transcript
                                                                  may be viewed at the Bankruptcy Court Clerk's Office. For
                                                                  additional information, you may contact the Transcriber
                                                                  Access Transcripts, LLC, Telephone number 855-873-2223.
                                                                  Purchasing Party: Nicholas Strozza. Redaction Request Due

https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                           4/12
5/8/2020                                                                    LIVE ECF

                                                                  By 03/12/2020. Redacted Transcript Submission Due By
                                                                  03/23/2020. Transcript access will be restricted through
                                                                  05/20/2020. (ACCESS TRANSCRIPTS, LLC) (Entered:
                                                                  02/20/2020)

                                        29                        Order Granting United States Trustee's Emergency Motion For
                                        (4 pgs)                   Order Immediately Suspending Debtor's Operations (Related
   02/20/2020                                                     document(s) 17) (ccc) (Entered: 02/20/2020)

                                        30                        Notice of Filing Official Transcript. Related document(s) 28 .
   02/20/2020                           (1 pg)                    (admin) (Entered: 02/20/2020)

                                        .ll                       Amended Non-Individual Summary of Assets and Liabilities,
                                        (9 pgs)                   Schedule[ s]A/B, Real Property Amount: $ 0, Personal Property
                                                                  Amount:$ 42035.52, Declaration Concerning Debtor[s]
                                                                  Schedules, Filed by MATTHEW C. ZIRZOW on behalf of
                                                                  DOMI PUBLICATIONS, LLC (ZIRZOW, MATTHEW)
   02/21 /2020                                                    (Entered: 02/21/2020)

                                        32                        BNC Certificate ofMailing-pdf (Related document(s)23 UST
                                        (6 pgs)                   Notice of Hearing) No. of Notices: 129. Notice Date
   02/21/2020                                                     02/21/2020. (Admin.) (Entered: 02/21/2020)

                                        33                        BNC Certificate ofMailing-pdf (Related document(s)30
                                        (5 pgs)                   Notice of Filing Official Transcript (BNC-BK)) No. of
                                                                  Notices: 129. Notice Date 02/23/2020. (Admin.) (Entered:
   02/23/2020                                                     02/23/2020)

                                        34                        Motion for Abstention Under Section 305 UNITED STATES
                                        (15 pgs)                  TRUSTEES MOTION TO ABSTAIN BY DISMISSING CASE,
                                                                  OR IN THE ALTERNATIVE, TO DISMISS CASE FOR CAUSE,
                                                                  AND TO DIRECT THE VESTING OF ESTATE PROPERTY IN
                                                                  THE STATE COURT RECEIVER Filed by U.S. TRUSTEE -
   03/02/2020                                                     LV - 7 (STROZZA (rl), NICHOLAS) (Entered: 03/02/2020)

                                        35                        Declaration Of: JARED A. DAY DECLARATION OF JARED
                                        (270 pgs)                 A. DAY IN SUPPORT OF UNITED STATES TRUSTEES
                                                                  MOTION TO ABSTAIN BY DISMISSING CASE, OR IN THE
                                                                  ALTERNATIVE, TO DISMISS CASE FOR CAUSE, AND TO
                                                                  DIRECT THE VESTING OF ESTATE PROPERTY IN THE
                                                                  STATE COURT RECEIVER Filed by U.S. TRUSTEE - LV - 7
                                                                  (Related document(s)34 Motion for Abstention Under Section
                                                                  305 filed by U.S. Trustee U.S. TRUSTEE - LV - 7)
   03/02/2020                                                     (STROZZA (rl), NICHOLAS) (Entered: 03/02/2020)

   03/02/2020                           36                        Notice of Hearing NOTICE OF HEARING ON UNITED
                                        (2 pgs)                   STATES TRUSTEES MOTION TO ABSTAIN BY DISMISSING
                                                                  CASE, OR IN THE ALTERNATIVE, TO DISMISS CASE FOR
                                                                  CAUSE, AND TO DIRECT THE VESTING OF ESTATE
                                                                  PROPERTY IN THE STATE COURT RECEIVER Hearing
                                                                  Date: 03/31/2020 Hearing Time: 11 :00 a.m. (Related
                                                                  document(s)34 Motion for Abstention Under Section 305 filed

https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                            5/12
5/8/2020                                                                    LIVE ECF

                                                                  by U.S. Trustee U.S. TRUSTEE - LV - 7.)(STROZZA (rl),
                                                                  NICHOLAS). Modified on 3/3/2020 to remove relationship to
                                                                  #35 (Youngblood, CL). (Entered: 03/02/2020)

                                        37                        Certificate of Service with Certificate of Service Filed by U.S.
                                        (2 pgs)                   TRUSTEE - LV - 7 (Related document(s)34 Motion for
                                                                  Abstention Under Section 305 filed by U.S. Trustee U.S.
                                                                  TRUSTEE - LV - 7, 35 Declaration filed by U.S. Trustee U.S.
                                                                  TRUSTEE- LV - 7, 36 UST Notice of Hearing) (STROZZA
   03/02/2020                                                     (rl), NICHOLAS) (Entered: 03/02/2020)

                                        38                        Hearing Scheduled/Rescheduled. Hearing scheduled 3/31/2020
                                                                  at 11:00 AM at Foley Bldg,Third Floor. (Related
                                                                  document(s)34 Motion for Abstention Under Section 305 filed
                                                                  by U.S. Trustee U.S. TRUSTEE - LV - 7) (ccc) (Entered:
   03/03/2020                                                     03/03/2020)

                                        39                        BNC Certificate ofMailing-pdf (Related document(s)36 UST
                                        (6 pgs)                   Notice of Hearing) No. of Notices: 129. Notice Date
   03/05/2020                                                     03/05/2020. (Admin.) (Entered: 03/05/2020)

                                        40                        Notice of Hearing NOTICE OF RESCHEDULED HEARING
                                        (2 pgs)                   ON UNITED STATES TRUSTEES MOTION TO ABSTAIN BY
                                                                  DISMISSING CASE, OR IN THE ALTERNATIVE, TO
                                                                  DISMISS CASE FOR CAUSE, AND TO DIRECT THE
                                                                  VESTING OF ESTATE PROPERTY IN THE STATE COURT
                                                                  RECEIVER Hearing Date: 05/05/2020 Hearing Time: 1:30
                                                                  p.m. (Related document(s)34 Motion for Abstention Under
                                                                  Section 305 filed by U.S . Trustee U.S. TRUSTEE - LV - 7.)
   03/11/2020                                                     (STROZZA (rl), NICHOLAS) (Entered: 03/11/2020)

                                        41                        Certificate of Service Filed by U.S. TRUSTEE - LV - 7
                                        (2 pgs)                   (Related document(s)40 UST Notice of Hearing) (STROZZA
   03/11/2020                                                     (rl), NICHOLAS) (Entered: 03/11/2020)

                                        42                        Hearing Scheduled/Rescheduled. Hearing scheduled 5/5/2020
                                                                  at 01:30 PM at BTB LY-Courtroom 4, Foley Federal Bldg.
                                                                  (Related document(s)34 Motion for Abstention Under Section
                                                                  305 filed by U.S. Trustee U.S. TRUSTEE - LV - 7) (ccc)
   03/12/2020                                                     (Entered: 03/12/2020)

                                        43                        BNC Certificate ofMailing-pdf (Related document(s)40 UST
                                        (6 pgs)                   Notice of Hearing) No. of Notices: 129. Notice Date
   03/13/2020                                                     03/13/2020. (Admin.) (Entered: 03/13/2020)

                                        44                        Statement Adjourning Meeting of 341 (a) Meeting of Creditors.
                                                                  Section 341(a) Meeting Continued on 5/6/2020 at 11:30 AM at
                                                                  341s - Foley Bldg,Rm 1500. (SCHWARTZER, LENARD)
   03/18/2020                                                     (Entered: 03/18/2020)

   03/19/2020                           45                        Motion for Relief from Stay Property: Judgment in Excess of
                                        (6 pgs; 2 docs)           $12M Fee Amount $181. Filed by ROBERTS. LARSEN on
https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                              6/12
5/8/2020                                                                   LIVE ECF

                                                                  behalf of c/o Robert S. Larsen Jane Does Nos. 1-22
                                                                  (Attachments:# l Exhibit Information Sheet)(LARSEN,
                                                                  ROBERT) (Entered: 03/19/2020)

                                        46                        Receipt of Filing Fee for Motion for Relief from Stay(20-
                                                                  10250-btb) [motion,mrlfsty] ( 181 .00). Receipt number
                                                                  19446441, fee amount$ 181.00.(re: Doc#45) (U.S. Treasury)
   03/19/2020                                                     (Entered: 03/19/2020)

                                        47                        Declaration Of: Edward D. Chapin Filed by ROBERTS.
                                        (22 pgs; 4 docs)          LARSEN on behalf of c/o Robert S. Larsen Jane Does Nos. 1-
                                                                  22 (Related document(s)45 Motion for Relief from Stay filed
                                                                  by Creditor c/o Robert S. Larsen Jane Does Nos. 1-22)
                                                                  (Attachments: # l Exhibit A# 2 Exhibit B # 1 Exhibit C)
   03/19/2020                                                     (LARSEN, ROBERT) (Entered: 03/ 19/2020)

                                        48                        Notice of Hearing Hearing Date: 05/05/2020 Hearing Time:
                                        (2 pgs)                   1:30 Filed by ROBERT S. LARSEN on behalf of c/o Robert S.
                                                                  Larsen Jane Does Nos. 1-22 (Related document(s)45 Motion
                                                                  for Relief from Stay filed by Creditor c/o Robert S. Larsen
                                                                  Jane Does Nos. 1-22) (LARSEN, ROBERT) (Entered:
   03/19/2020                                                     03/19/2020)

                                        49                        Certificate of Service Filed by ROBERT S. LARSEN on behalf
                                        (3 pgs)                   of c/o Robert S. Larsen Jane Does Nos. 1-22 (Related
                                                                  document(s)45 Motion for Relief from Stay filed by Creditor
                                                                  c/o Robert S. Larsen Jane Does Nos. 1-22) (LARSEN,
   03/19/2020                                                     ROBERT) (Entered: 03/19/2020)

                                        50                        Order Granting Motion To Extend Deadline to File Schedules
                                        (2 pgs)                   or Provide Required Information (Related Doc # 2) ( ccc)
   03/19/2020                                                     (Entered: 03/19/2020)

                                        51                        Hearing Scheduled/Rescheduled. Hearing scheduled 5/5/2020
                                                                  at 01 :30 PM at BTB LV-Courtroom 4, Foley Federal Bldg.
                                                                  (Related document(s)45 Motion for Relief from Stay filed by
                                                                  Creditor c/o Robert S. Larsen Jane Does Nos. 1-22) (ccc)
   03/20/2020                                                     (Entered: 03/20/2020)

                                        52                        Notice of Entry of Order Filed by MATTHEW C. ZIRZOW on
                                        (3 pgs)                   behalf ofDOMI PUBLICATIONS, LLC (Related
                                                                  document(s)50 Order on Motion to Extend Deadline to File
   03/23/2020                                                     Schedules) (ZIRZOW, MATTHEW) (Entered: 03/23/2020)

                                        53                        Certificate of Service Filed by MATTHEW C. ZIRZOW on
                                        (2 pgs)                   behalf ofDOMI PUBLICATIONS, LLC (Related
                                                                  document(s)52 Notice of Entry of Order filed by Debtor DOMI
                                                                  PUBLICATIONS, LLC) (ZIRZOW, MATTHEW) (Entered:
   03/23/2020                                                     03/23/2020)

   03/27/2020                           54                        Amended Motion for Relief from Stay Property: continue state
                                        (8 pgs)                   court litigation with Certificate of Service Filed by ROBERT
https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                         7/12
5/8/2020                                                                   LIVE ECF

                                                                  S. LARSEN on behalf of JANE DOES NOS. 1-22 (Related
                                                                  document(s)45 Motion for Relief from Stay filed by Creditor
                                                                  JANE DOES NOS. 1-22)(LARSEN, ROBERT) (Entered:
                                                                  03/27/2020)

                                        55                        Notice of Hearing Hearing Date: 05/05/2020 Hearing Time:
                                        (4 pgs)                   1:30 with Certificate of Service Filed by ROBERT S.
                                                                  LARSEN on behalf of JANE DOES NOS. 1-22 (Related
                                                                  document(s)54 Motion for Relief from Stay (Amended,
                                                                  Renewed) filed by Creditor JANE DOES NOS. 1-22)
   03/27/2020                                                     (LARSEN, ROBERT) (Entered: 03/27/2020)

                                        56                        Notice of Docketing Error (Related document(s)55 Notice of
                                        (1 pg)                    Hearing (IRS) filed by Creditor JANE DOES NOS. 1-22) (ccc)
   03/27/2020                                                     (Entered: 03/27/2020)

                                        57                         Amended Notice of Hearing/or Amended Motion for Relief
                                        (4 pgs)                   from Stay Property Hearing Date: 05/05/2020 Hearing Time:
                                                                   1:30 p.m. with Certificate of Service Filed by ROBERT S.
                                                                  LARSEN on behalf of DOMI PUBLICATIONS, LLC (Related
                                                                  document(s)54 Motion for Relief from Stay (Amended,
                                                                  Renewed) filed by Creditor JANE DOES NOS. 1-22)
                                                                   (LARSEN, ROBERT). Related document(s) Modified on
                                                                  4/1/2020 to relate to #54 in place of#55 (Youngblood, CL).
   03/30/2020                                                      (Entered: 03/30/2020)

                                        58                        Hearing Scheduled/Rescheduled. Hearing scheduled 5/5/2020
                                                                  at 01:30 PM at BTB LY-Courtroom 4, Foley Federal Bldg.
                                                                  (Related document(s)54 Motion for Relief from Stay
                                                                  (Amended, Renewed) filed by Creditor JANE DOES NOS. 1-
   03/30/2020                                                     22) (CCC) (Entered: 03/30/2020)

                                        59                        Notice of Hearing Notice ofRescheduled Hearing Hearing
                                        (2 pgs)                   Date: 7/28/2020 Hearing Time: 1:30 p.m. (Related
                                                                  document(s)34 Motion for Abstention Under Section 305 filed
                                                                  by U.S. Trustee U.S. TRUSTEE - LY - 7.)(STROZZA (rl),
   03/30/2020                                                     NICHOLAS) (Entered: 03/30/2020)

                                        60                        Certificate of Service Filed by U.S. TRUSTEE - LY - 7
                                        (2 pgs)                   (Related document(s)59 UST Notice of Hearing) (STROZZA
   03/30/2020                                                     (rl), NICHOLAS) (Entered: 03/30/2020)

                                        61                        Hearing Scheduled/Rescheduled. Hearing scheduled 7/28/2020
                                                                  at 01 :30 PM at BTB LY-Courtroom 4, Foley Federal Bldg.
                                                                  (Related document(s)34 Motion for Abstention Under Section
                                                                  305 filed by U.S. Trustee U.S. TRUSTEE - LY - 7) (ccc)
   03/31/2020                                                     (Entered: 03/31/2020)

                                        62                        BNC Certificate ofMailing-pdf (Related document(s) 59 UST
                                        (6 pgs)                   Notice of Hearing) No. of Notices: 130. Notice Date
   04/01/2020                                                     04/01/2020. (Admin.) (Entered: 04/01/2020)


https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                         8/12
5/8/2020                                                                   LIVE ECF

   04/06/2020                           63                        Ex Parte Motion for 2004 Examination with Proposed Order
                                        (7 pgs; 2 docs)           with Certificate of Service Filed by ROBERT S. LARSEN on
                                                                  behalf of JANE DOES NOS. 1-22 (Attachments: # l proposed
                                                                  Order)(LARSEN, ROBERT) (Entered: 04/06/2020)

                                        64                        Ex Parte Motion for 2004 Examination with Proposed Order
                                        (7 pgs; 2 docs)           with Certificate of Service Filed by ROBERT S. LARSEN on
                                                                  behalf of JANE DOES NOS. 1-22 (Attachments: # l proposed
   04/06/2020                                                     Order)(LARSEN, ROBERT) (Entered: 04/06/2020)

                                        65                        Ex Parte Motion for 2004 Examination of George Rikos and
                                        (8 pgs)                   the Law Offices of George Rikos with Proposed Order with
                                                                  Certificate of Service Filed by ROBERT S. LARSEN on behalf
                                                                  of Jane Doe Nos. 1-22 (LARSEN, ROBERT) (Entered:
   04/06/2020                                                     04/06/2020)

                                        66                        Ex Parte Motion for 2004 Examination ofDebtor Dami
                                        (8 pgs)                   Publications LLC with Proposed Order with Certificate of
                                                                  Service Filed by ROBERT S. LARSEN on behalf of JANE
                                                                  DOES NOS. 1-22 (LARSEN, ROBERT) (Entered:
   04/06/2020                                                     04/06/2020)

                                        67                        Order Granting Motion for 2004 Examination (Related
   04/08/2020                           (2 pgs)                   document(s) 66) (ccc) (Entered: 04/08/2020)

                                        68                        Notice of Rescheduled Meeting - Remote 341(a) meeting to be
                                        (2 pgs)                   held on 5/6/2020 at 11 :30 AM at Remote. (SCHWARTZER,
   04/09/2020                                                     LENARD) (Entered: 04/09/2020)

                                        69                        BNC Certificate ofMailing-pdf (Related document(s)68
                                        (6 pgs)                   Notice of Rescheduled Meeting - Remote) No. of Notices: 130.
   04/12/2020                                                     Notice Date 04/12/2020. (Admin.) (Entered: 04/12/2020)

                                        70                        Order Granting Motion for 2004 Examination (Related
   04/13/2020                           (4 pgs)                   document(s) 65) (ccc) (Entered: 04/13/2020)

                                        71                        Order Granting Motion for 2004 Examination (Related
   04/13/2020                           (2 pgs)                   document(s) 63) (ccc) (Entered: 04/13/2020)

                                        72                        Order Granting Motion for 2004 Examination (Related
   04/13/2020                           (2 pgs)                   document(s) 64) (ccc) (Entered: 04/13/2020)

                                        73                        Notice of Entry of Order Ex Parte 2004 Exam Request of
                                        (6 pgs)                   Debtor Dami Publications, LLC with Certificate of Service
                                                                  Filed by ROBERT S. LARSEN on behalf of JANE DOES
   04/14/2020                                                     NOS. 1-22 (LARSEN, ROBERT) (Entered: 04/14/2020)

   04/14/2020                           74                        Notice of Entry of Order Ex Parte 2004 Exam Request George
                                        (8 pgs)                   Rikos and Law Office of George Rikos with Certificate of
                                                                  Service Filed by ROBERT S. LARSEN on behalf of JANE
                                                                  DOES NOS. 1-22 (LARSEN, ROBERT) (Entered:
                                                                  04/14/2020)
https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                       9/12
5/8/2020                                                                    LIVE ECF



                                        75                        Notice of Entry of Order Ex Parte 2004 Exam Request Ryan
                                        (6 pgs)                   Somavia with Certificate of Service Filed by ROBERT S.
                                                                  LARSEN on behalf of JANE DOES NOS. 1-22 (LARSEN,
   04/14/2020                                                     ROBERT) (Entered: 04/14/2020)

                                        76                        Notice of Entry of Order Ex Parle 2004 Exam Request
                                        (6 pgs)                   Douglas Wiederhold with Certificate of Service Filed by
                                                                  ROBERTS. LARSEN on behalf of JANE DOES NOS. 1-22
   04/14/2020                                                     (LARSEN, ROBERT) (Entered: 04/ 14/2020)

                                        77                        Opposition Filed by MATTHEW C. ZIRZOW on behalf of
                                        (3 pgs)                   DOMI PUBLICATIONS, LLC (Related document(s)54
                                                                  Motion for Relief from Stay (Amended, Renewed) filed by
                                                                  Creditor JANE DOES NOS. 1-22.) (ZIRZOW, MATTHEW)
   04/20/2020                                                     (Entered: 04/20/2020)

                                        78                        Verified Petition for Permission to Practice in this Case Only
                                        (8 pgs)                   by Attorney Not Admitted to the Bar of this Court. Fee
                                                                  Amount $250. VP Follow-up Date 05/8/2020 with Certificate
                                                                  of Service Filed by JEFFREY D. CAWDREY on behalf of
                                                                  JANE DOES NOS. 1-22 (CAWDREY, JEFFREY) (Entered:
   04/24/2020                                                     04/24/2020)

                                        79                        Receipt of Filing Fee for Verified Petition/Pro Hae Vice(20-
                                                                  10250-btb) [misc,verpeta] ( 250.00). Receipt number
                                                                  19506877, fee amount$ 250.00.(re: Doc#78) (U.S. Treasury)
   04/24/2020                                                     (Entered: 04/24/2020)

                                        80                        Designation of Local Counsel Filed by JEFFREY D.
                                        (5 pgs)                   CAWDREY on behalf of JANE DOES NOS. 1-22
                                                                  (CAWDREY, JEFFREY). Related document(s) 78 Verified
                                                                  Petition/Pro Hae Vice filed by Creditor JANE DOES NOS. 1-
                                                                  22. Modified on 4/27/2020 to relate to #78 (Ivey, SD).
   04/24/2020                                                     (Entered: 04/24/2020)

                                        fil.                      Order Approving Verified Petition (Related document(s)78
                                        (1 pg)                    Verified Petition/Pro Hae Vice filed by Creditor JANE DOES
   04/27/2020                                                     NOS. 1-22.) (ccc) (Entered: 04/27/2020)

                                        82                        Reply Filed by JEFFREY D. CAWDREY on behalf of JANE
                                        (5 pgs)                   DOE NOS. 1-22 (Related document(s)77 Opposition filed by
                                                                  Debtor DOMI PUBLICATIONS, LLC) (CAWDREY,
                                                                  JEFFREY). Modified on 4/29/2020 to relate to #77 in place of
   04/28/2020                                                     #54 (Youngblood, CL). (Entered: 04/28/2020)

                                        83                        Certificate of Service Filed by ROBERT S. LARSEN on behalf
                                        (3 pgs)                   of JANE DOES NOS. 1-22 (Related document(s)82 Reply
                                                                  filed by Creditor JANE DOE NOS. 1-22) (LARSEN,
   04/29/2020                                                     ROBERT) (Entered: 04/29/2020)

   04/29/2020                           84                        BNC Certificate of Mailing. (Related document(s)fil. Order
https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                            10/12
5/8/2020                                                                     LIVE ECF

                                        (2 pgs)                   Approving Verified Petition) No. of Notices: 1. Notice Date
                                                                  04/29/2020. (Admin.) (Entered: 04/29/2020)

                                        85                        Trustee's Response To Amended Motion For Relief From Stay
                                        (1 pg)                    To Continue State Court Litigation Filed by LENARD E.
                                                                  SCHWARTZER on behalf of LENARD E. SCHWARTZER
                                                                  (Related document(s)54 Motion for Relief from Stay
                                                                  (Amended, Renewed) filed by Creditor JANE DOES NOS. 1-
   05/01/2020                                                     22.) (SCHWARTZER, LENARD) (Entered: 05/01/2020)

                                        86                        Certificate of Service Filed by LENARD E. SCHWARTZER
                                        (2 pgs)                   on behalf of LENARD E. SCHWARTZER (Related
                                                                  document(s)85 Response filed by Trustee LENARD E.
                                                                  SCHWARTZER) (SCHWARTZER, LENARD) (Entered:
   05/04/2020                                                     05/04/2020)

                                        87                        Initial Asset Report MEETING CONCLUDED. Debtor
   05/07/2020                                                     appeared. (SCHWARTZER, LENARD) (Entered: 05/07/2020)

                                        88                        Notice ofIssuance of Subpoena to Produce Document to
                                        (8 pgs; 2 docs)           George Rikos and the Law Offices of George Rikos with
                                                                  Certificate of Service Filed by JEFFREY D. CAWDREY on
                                                                  behalf of JANE DOES NOS. 1-22 (Attachments: # l Exhibit 1)
   05/07/2020                                                     (CAWDREY, JEFFREY) (Entered: 05/07/2020)

                                        89                        Notice ofIssuance of Subpoena to Produce Document to Ryan
                                        (8 pgs; 2 docs)           Somavia with Certificate of Service Filed by JEFFREY D.
                                                                  CAWDREY on behalf of JANE DOES NOS. 1-22
                                                                  (Attachments:# l Exhibit 1) (CAWDREY, JEFFREY)
   05/07/2020                                                     (Entered: 05/07/2020)

                                        90                        Notice ofIssuance of Subpoena to Produce Document to
                                        (9 pgs; 2 docs)           Douglas Wiederhold with Certificate of Service Filed by
                                                                  JEFFREY D. CAWDREY on behalf of JANE DOES NOS. 1-
                                                                  22 (Attachments:# l Exhibit 1) (CAWDREY, JEFFREY)
   05/07/2020                                                     (Entered: 05/07/2020)




                                   I                      PACER Service Center
                                   I                          Transaction Receipt

                                   I                             05/08/2020 09:45:37
                                    PACER                                        Client
                                                   tburd5109:4090122:4384457
                                    Login:                                       Code:    I
                                    Description: Docket Report                   Search 20-10250-btb Fil
                                                                                 Criteria: or Ent: filed Doc
                                                                                           From: 0 Doc To:
                                                                                           99999999 Term:
                                                                                           included Format:
https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                                         11/12
5/8/2020                                                                  LIVE ECF




                                   LJI                                      ILJ
                                                                                       html Page counts
                                                                                       for documents:
                                                                                       included
                                    !Billable
                                                   18                       llcost:   110.80
                                     Pages:                                                               I




https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?564462868791137-L_1_ 0-1                                       12/12
EXHIBIT E
                                  SUPERIOR COURT OF CALIFORNIA,
                                      COUNTY OF SAN DIEGO
                                            CENTRAL
                                            MINUTE ORDER
DATE: 10/31/2018                    TIME: 09:00:00 AM                  DEPT: C-73
JUDICIAL OFFICER PRESIDING: Joel R. Wohlfeil
CLERK: Andrea Taylor
REPORTER/ERM: Darla Kmety CSR# 12956
BAILIFF/COURT ATTENDANT: R. Camberos

CASE NO: 37-2016-00019027-CU-FR-CTL CASE INIT.DATE: 06/02/2016
CASE TITLE: DOE vs GIRLSDOPORNCOM [IMAGED]
CASE CATEGORY: Civil - Unlimited  CASE TYPE: Fraud


EVENT TYPE: Ex Parte



APPEARANCES
Brian M Holm, counsel, present for Respondent on Appeal,Plaintiff(s).
Edward Chapin, counsel, present for Defendant,Respondent on Appeal,Plaintiff(s).
John J O'Brien, counsel, present for Respondent on Appeal,Plaintiff(s).
George D Rikos, counsel, present for Defendant,Respondent on Appeal,Cross - Appellant,Appellant(s).
Aaron D Sadock, counsel, present for Defendant,Appellant(s).
Attorney Alexander Byler appears on behalf of the Defendant.
This being the time further set for Plaintiff's ex-parte in the above-entitled cause, counsel are before the
Court as noted above.
Plaintiff makes the following ex-parte requests:
1) Request for a case management conference order
2) Order authorizing Administrative notice
3) Continuance of Domi's Summary Judgment motion set for 12/7/18 at 9:00 a.m.
Attorney Chapin and Attorney Saddack state on the record the discovery issues that have been
resolved. Court orders counsel to file a stipulation and order regarding their agreement.

Counsel do not feel they need a case management conference order as they are attempting to work
things out.
Court and counsel discuss Administrative notice. The Court hears further argument. The Court declines
to change the nature of the Administrative notice as previously ruled upon.
Counsel are to email the court clerk forthwith their proposed notice and the Court will make a decision
regarding the notice.




DATE: 10/31/2018                                   MINUTE ORDER                                    Page 1
DEPT: C-73                                                                                   Calendar No. 2
CASE TITLE: DOE vs GIRLSDOPORNCOM [IMAGED]                    CASE NO: 37-2016-00019027-CU-FR-CTL


The Court denies the request to continue Domi's summary judgment set on 12/7/18.
Plaintiff's request to take opposing counsel's deposition is denied.
The Court does not find a violation of the stay.




DATE: 10/31/2018                                   MINUTE ORDER                             Page 2
DEPT: C-73                                                                            Calendar No. 2
